Case 5:14-cv-00786-TS-MLH Document 4 Filed 04/25/14 Page 1 of 8 PageID #: 24



                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION

ROBERT LEE WRIGHT                                NO: 5:14-cv-0786

VERSUS                                           JUDGE HICKS

CHARLES MICHAEL SMITH,                           MAGISTRATE JUDGE HORNSBY
IN HIS INDIVIDUAL AND OFFICIAL
CAPACITIES, JODY LEVINE, IN HER
INDIVIDUAL AND OFFICIAL CAPACITIES,
AND HONORABLE STEVE PRATOR, IN
HIS OFFICIAL CAPACITY AS THE DULY
ELECTED SHERIFF OF CADDO PARISH

                                        ANSWER

       NOW INTO COURT, through undersigned counsel, come defendants, Caddo

Parish Sheriff Steve Prator, Charles Michael Smith, and Jody Levine and in answer to the

Complaint of plaintiff deny each and every allegation contained therein, except such as

may be hereinafter specifically admitted, and without waiving any motions, exceptions, or

defenses, reply to the separately numbered paragraphs of the Complaint as follows:

                                            1.

       The allegations contained in paragraph 1 of the Complaint are admitted.

                                            2.

          The allegations contained in paragraph 2 of the Complaint are admitted.

                                            3.

       The allegations contained in paragraph 3 of the Complaint are admitted that plaintiff

entered the Caddo Parish Courthouse on March 21, 2013. The remaining allegations

contained in paragraph 3 of the Complaint are denied for lack of sufficient information to

justify a belief therein.
Case 5:14-cv-00786-TS-MLH Document 4 Filed 04/25/14 Page 2 of 8 PageID #: 25



                                                 4.

       The allegations contained in paragraph 4 of the Complaint are denied as stated.

                                                 5.

       The allegations contained in paragraph 5 of the Complaint are admitted that Deputy

Jody Levine allowed plaintiff to enter the building. The remaining allegations contained in

paragraph 5 of the Complaint are denied for lack of sufficient information to justify a belief

therein.

                                                 6.


       The allegations contained in paragraph 6 of the Complaint are denied.

                                           7.
       The allegations contained in paragraph 7 of the Complaint are denied for lack of

sufficient information to justify a belief therein.

                                                 8.

       The allegations contained in paragraph 8 of the Complaint are denied for lack of

sufficient information to justify a belief therein.

                                                 9.

       The allegations contained in paragraph 8 of the Complaint are admitted that an

arrest warrant was issued and the bond was initially set at $250,000. The remaining

allegations contained in paragraph 11 of the Complaint are denied for lack of sufficient

information to justify a belief therein.

                                                10.

       The allegations contained in paragraph 10 of the Complaint are denied for lack of

sufficient information to justify a belief therein.
Case 5:14-cv-00786-TS-MLH Document 4 Filed 04/25/14 Page 3 of 8 PageID #: 26



                                                11.

       The allegations contained in paragraph 11 of the Complaint are denied as stated.

                                                12.

       The allegations contained in paragraph 12 of the Complaint are denied for lack of

sufficient information to justify a belief therein.

                                                13.

       The allegations contained in paragraph 13 of the Complaint are denied for lack of

sufficient information to justify a belief therein.

                                                14.

       The allegations contained in paragraph 14 of the Complaint are denied for lack of

sufficient information to justify a belief therein.

                                                15.


       The allegations contained in paragraph 15 of the Complaint are denied for lack of

sufficient information to justify a belief therein.

                                                16.

       The allegations contained in paragraph 16 of the Complaint are denied for lack of

sufficient information to justify a belief therein.

                                                17.

       The allegations contained in paragraph 17 of the Complaint are denied for lack of

sufficient information to justify a belief therein.

                                                18.

       The allegations contained in paragraph 18 of the Complaint are denied for lack of

sufficient information to justify a belief therein.
Case 5:14-cv-00786-TS-MLH Document 4 Filed 04/25/14 Page 4 of 8 PageID #: 27



                                             19.

       To the extent that plaintiff incorporates herein, as if set out in full the allegations

of paragraphs 1-18, defendants incorporate defendants’ responses to same as if

reproduced herein.

                                             20.

       The allegations contained in paragraph 20 of the Complaint are denied.

                                             21.

       To the extent that plaintiff incorporates herein, as if set out in full the allegations

of paragraphs 1-20, defendants incorporate defendants’ responses to same as if

reproduced herein.

                                             22.

       The allegations contained in paragraph 22 of the Complaint are denied.

                                             23.

       To the extent that plaintiff incorporates herein, as if set out in full the allegations

of paragraphs 1-22, defendants incorporate defendants’ responses to same as if

reproduced herein.

                                             24.

       The allegations contained in paragraph 24 of the Complaint are admitted that

Defendant Levine and Defendant Smith were employed by Caddo Parish Sheriff Steve

Prator and were acting in the course and scope of their employment. The remaining

allegations contained in paragraph 24 of the Complaint are denied for lack of sufficient

information to justify a belief therein.
Case 5:14-cv-00786-TS-MLH Document 4 Filed 04/25/14 Page 5 of 8 PageID #: 28



                                             25.

       The allegations contained in paragraph 25 of the Complaint are denied.

                                             26.

       To the extent that plaintiff incorporates herein, as if set out in full the allegations

of paragraphs 1-25, defendants incorporate defendants’ responses to same as if

reproduced herein.

                                             27.

       The allegations contained in paragraph 27 of the Complaint are denied.


                                AFFIRMATIVE DEFENSES

                                             28.

       The Complaint fails to state a claim upon which relief can be granted.

                                             29.

       Any injuries suffered by plaintiff as a result of the acts of which plaintiff complains,

which are denied, occurred as a direct result of plaintiff’s own negligence or acts or

omissions, including his failure to cooperate with deputies. Any injuries to plaintiff were

attributable to his own fault and negligence and any award to plaintiff should be reduced in

proportion to the degree or percentage of fault or negligence attributable to plaintiff in

accordance with the principles of comparative negligence and the laws of the State of

Louisiana.

                                             30.

       All actions of the individual deputies were taken based upon a good faith belief in

the correctness and legality of such actions and were further based on the existence of
Case 5:14-cv-00786-TS-MLH Document 4 Filed 04/25/14 Page 6 of 8 PageID #: 29



reasonable grounds for that belief at the time and in light of all circumstances.

Accordingly, the individual defendants are entitled to qualified immunity.



                                              31.

        There was no policy or custom established by the Caddo Parish Sheriff’s Office

upon which to base any municipal liability.

                                              32.

        To the extent plaintiff is seeking recovery for defamation, defendants affirmatively

plead the qualified privilege that statements made between employees made within the

course and scope of their employment do not constitute publication for the purpose of

defamation.

                                              33.

        To the extent plaintiff is seeking recovery for defamation, any statements made

by defendants were made in good faith, and the defendants had reasonable grounds to

believe in the truth of each and every statement. Each statement was made without

malice on the basis of probable and reasonable cause without intent to harm or damage

plaintiff.

                                              34.

        Defendants plead the immunities and limitations of liability for public bodies and

officials set forth in the applicable Louisiana statutes, specifically including La. R.S.

13:5106 and La. R.S. 13:5112.
Case 5:14-cv-00786-TS-MLH Document 4 Filed 04/25/14 Page 7 of 8 PageID #: 30



                                               35.

       Defendants further plead the immunities and limitations of liability for public bodies

and officials pursuant to La. R.S. 9:2798.1.

       WHEREFORE, defendants, Caddo Parish Sheriff Steve Prator, Charles Michael

Smith, and Jody Levine, pray that this answer be deemed good and sufficient and that

after due proceedings had there be judgment in favor of the defendants rejecting the

demands of plaintiff, dismissing this suit with prejudice at plaintiff’s cost.

       DEFENDANTS FURTHER PRAY for all orders and decrees necessary in the

premises and for full, general and equitable relief.




                                             Respectfully submitted,

                                             PETTIETTE, ARMAND, DUNKELMAN,
                                             WOODLEY, BYRD & CROMWELL, L.L.P.

                                             ___S//Graham H. Todd_______________
                                             Edwin H. Byrd, III #19509
                                             Graham H. Todd #34791
                                             400 Texas Street, Suite 400 (71101)
                                             Post Office Box 1786
                                             Shreveport, Louisiana 71166-1786
                                             Ph. (318) 221-1800 Fax (318) 226-0390

                                             ATTORNEYS FOR DEFENDANTS,
                                             CADDO PARISH SHERIFF STEVE PRATOR,
                                             CHARLES MICHAEL SMITH, AND JODY
                                             LEVINE
Case 5:14-cv-00786-TS-MLH Document 4 Filed 04/25/14 Page 8 of 8 PageID #: 31




                                      CERTIFICATE

       I hereby certify that a copy of the above and foregoing was this date filed

electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be

sent electronically to all counsel of record by operation of the Court’s CM/ECF system.

       Signed in Shreveport, Louisiana on this 25th day of April, 2014.

                           ______/s/ Graham H. Todd________
                                     OF COUNSEL
